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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                             BROWNSVILLE DIVISION

                                        )
STATE OF TEXAS,                         )
STATE OF ALABAMA,                       )
STATE OF ARKANSAS,                      )
STATE OF KANSAS,                        )
STATE OF LOUISIANA,                     )
STATE OF MISSISSIPPI,                   )
STATE OF NEBRASKA,                      )
STATE OF SOUTH CAROLINA, and            )
STATE OF WEST VIRGINIA,                 )
                                        )
             Plaintiffs,                )
                                        )
       v.                               )
                                        )
UNITED STATES OF AMERICA,               )
ALEJANDRO MAYORKAS,                     )
TROY A. MILLER,                         )
TAE D. JOHNSON,                         )
UR M. JADDOU, and                       )
RAUL L. ORTIZ,                          )
                                        )
             Defendants,                )
                                        )
and                                     )   Case No. 1:18-CV-00068
                                        )
ELIZABETH DIAZ,                         )
JOSE MAGAÑA-SALGADO,                    )
KARINA RUIZ DE DIAZ,                    )
JIN PARK,                               )
DENISE ROMERO,                          )
ANGEL SILVA,                            )
M. KAMAU CHEGE,                         )
HYO-WON JEON,                           )
BLANCA GONZALEZ,                        )
MARIA ROCHA,                            )
MARIA DIAZ ,                            )
ELLY MARISOL ESTRADA,                   )
DARWIN VELASQUEZ,                       )
OSCAR ALVAREZ,                          )
LUIS A. RAFAEL,                         )
NANCI J. PALACIOS GODINEZ,              )
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JUNG WOO KIM, and                                )
CARLOS AGUILAR GONZALEZ,                         )
                                                 )
               Defendant-Intervenors,            )
                                                 )
and                                              )
                                                 )
STATE OF NEW JERSEY,                             )
                                                 )
               Defendant-Intervenor.             )
                                                 )

                                     NOTICE OF APPEAL

       Notice is hereby given that Defendant-Intervenors Elizabeth Diaz, Jose Magaña-Salgado,

Karina Ruiz de Diaz, Jin Park, Denise Romero, Angel Silva, M. Kamau Chege, Hyo-Won Jeon,

Blanca Gonzalez, Maria Rocha, Maria Diaz, Elly Marisol Estrada, Darwin Velasquez, Oscar

Alvarez, Luis A. Rafael, Nanci J. Palacios Godinez, Jung Woo Kim, and Carlos Aguilar Gonzalez

(collectively, “Defendant-Intervenors”) hereby appeal to the United States Court of Appeals for

the Fifth Circuit from the District Court’s final judgment entered in this action on September 13,

2023 and all interlocutory orders that merge therein, including, without limiting the foregoing, (i)

the Memorandum and Order of September 13, 2023 (Dkt. No. 728) granting in part the Motion for

Summary Judgment filed by Plaintiffs (Dkt. No. 625-1) and denying Defendant-Intervenors’

Motion for Summary Judgment (Dkt. No. 641); and (ii) the Supplemental Order of Injunction of

September 13, 2023 (Dkt. No. 729).


                                     [signature page follows]




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Dated: November 9, 2023            Respectfully submitted,

                                   MEXICAN AMERICAN LEGAL DEFENSE
                                   AND EDUCATIONAL FUND
                                   /s/ Nina Perales
                                   Nina Perales (Tex. Bar No. 24005046);
                                   (SD of Tex. Bar No. 21127)
                                   Attorney-in-Charge
                                   110 Broadway, Suite 300
                                   San Antonio, Texas 78205
                                   Phone: (210) 224-5476
                                   Facsimile: (210) 224-5382
                                   Email: nperales@maldef.org

                                   ROPES & GRAY LLP
                                   Douglas H. Hallward-Driemeier
                                   2099 Pennsylvania Ave NW
                                   Washington, DC 20006-6807
                                   (202) 508-4600
                                   (202) 508-4776 (direct dial)
                                   Douglas.Hallward-
                                   Driemeier@ropesgray.com
                                   (Admitted pro hac vice)

                                   GARCÍA & GARCÍA,
                                   ATTORNEYS AT LAW P.L.L.C.
                                   Carlos Moctezuma García
                                   (Tex. Bar No. 24065265)
                                   (SD of Tex. Bar No. 1081768)
                                   P.O. Box 4545
                                   McAllen, TX 78502
                                   Phone: (956) 630-3889
                                   Facsimile: (956) 630-3899
                                   Email: cgarcia@garciagarcialaw.com

                                   Attorneys for Defendant-Intervenors




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                               CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on November 9, 2023, I electronically filed

the above and foregoing document using the CM/ECF system, which automatically sends

notice and a copy of the filing to all counsel of record.



                                           /s/ Nina Perales
                                           Nina Perales
                                           Attorney for Defendant-Intervenors




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